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JTW: 12.03.21
PCM: USAO 2018R00481

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA
v.

ZENO BURNETTE,
DESMOND BUTLER,
a/k/a “Dez,”
DARELL CARTER,
a/k/a “Black Ice,”
CORREY CAWTHORN,
a/k/a “Fat Correy,”
MICHAEL CHESTER,
a/k/a “Mikkie,”
DARIEN COLEMAN,
a/k/a “DCole,”
WAYNE GILLIAM,
a/k/a “Trey,”
RICHARD GRIER,
a/k/a “Rich Homie,”
JAWAUN HARRIS,
a/k/a “Scoota,”
DAYON JETER,
a/k/a “Savage,”
a/k/a “Day On Geter,”
DESEAN JOHNSON,
a/k/a “Boosie,”
RAEKWON MCMANN,
a/k/a “Ray Ray,”
DEVIN MITCHELL,
a/k/a “Dev,”
RASHAUD NESMITH,
a/k/a “Shaud,” and
TYESHAWN RIVERS,
a/k/a “Shawn,”

Defendants

 

CB

CRIMINAL NO. CCB-19-036

(Conspiracy to Participate in a
Racketeering Enterprise, 18 U.S.C.
§ 1962(d); Distribute and Possession
with the Intent to Distribute Controlled
Substances, 21 U.S.C. § 846; Possession
with Intent to Distribute a Controlled
Substance, 21 U.S.C. § 841; Possession
of a Firearm in Furtherance of Drug
Trafficking, 18 U.S.C. § 924(c);
Conspiracy to Possess a Firearm in
Furtherance of Drug Trafficking, 18
U.S.C. § 924(0); Felon in Possession of
Firearm, 18 U.S.C. § 922(g); Aiding and
Abetting, 18 U.S.C. § 2; Forfeiture, 18
U.S.C. § 924(d), 28 U.S.C. § 2461(c))

THIRD SUPERSEDING INDICTMENT

 

 
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COUNT ONE
(Conspiracy to Participate in Racketeering Enterprise)

The Grand Jury for the District of Maryland charges that:

The Racketeering Enterprise

Introduction
1. The Cruddy Conniving Crutballs (“CCC”) is a violent street gang that operates
throughout Baltimore City.
2. At all times relevant to this Third Superseding Indictment, CCC’s main purpose

was to commit violent acts to promote the reputation of the group and to command respect from
the neighborhood.

3. Gary Creek founded CCC as an alternative gang to the “Black Guerilla Family.”
Creek established a hierarchy within the group, positioning CARTER and CAWTHORN in
prominent roles. Creek took contract murders on behalf of CCC and ordered other members to
fulfill the contract.

4. CCC members were required to follow certain rules of conduct. CCC rules
included members having access to firearms and providing firearms to members; removing
arrested members from social media chats and group text messages to avoid law enforcement
recovering the communications on the arrested member’s phone; and sharing member locations
through cellphone GPS capabilities or by dropping a “pin” to other members’ phones to track
members or meet up with members to commit violent crimes.

5. Any CCC member who had their own “C” could initiate another into the gang.
Only once initiated could CCC members use the gang’s handshake which included a “locking c”

element.

 

 
 

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6. CCC members enhanced their status within the gang by carrying out acts of
violence against rivals and earning their “C.” A member who would commit any crime of
violence would be known as having “no cut cards.” Conversely, a member deemed weak or a
coward would be threatened to have their “C” taken from them.

7. CCC also benefited by murdering rival drug dealers, taking contract killings, and
engaging in street robberies. Members often arranged, attended, and subsequently robbed dice
games.

8. CCC members routinely used social media websites such as Instagram, Facebook,
and YouTube to enhance CCC’s status and identify and locate victims. CCC members and
associates posted photographs and rap videos to these social media websites in which they flaunted
firearms, the superiority of the gang, and threatened to kill those who stood in the way of the gang.
Members also used these sites to communicate with each other and share information so each
member was aware of possible retaliations.

9. CCC members used over a dozen different firearms to commit acts of violence,
often trading with each other or associates to avoid detection through ballistic evidence.

10. CCC members promoted the gang by giving away clothing such as t-shirts and hats.

11. CCC members either supported rap artists or were burgeoning rap artists
themselves, who would in turn support CCC by including lyrics about the group in their songs.
One example is the song “That’s On Me” Jack Boy Ike, which features the lyrics “Ain’t no Crip
or no Blood, I’m Triple C baby.” Several members and associates are in the video dancing and

waiving firearms during the rap.

12. At all times relevant to this Third Superseding Indictment, CCC operated a street-

 
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level drug distribution “shop” in the Darley Park area in Baltimore City, eventually expanding to
include the Orchard Ridge neighborhood and the North Avenue corridor, in east and northeast
Baltimore. These drug shops were operated by CCC members and associates and distributed
heroin, fentanyl, cocaine base (commonly known as “crack”) and marijuana, among other
controlled substances.

13. Atall times relevant to this Third Superseding Indictment, CCC members engaged
in criminal activites in furtherance of the gang, including, but not limited to, narcotics trafficking,
conspiracy to commit narcotics trafficking, and acts involving murder, assault and robbery. By
participating in criminal activies in furtherance of the gang, and particularly violent acts directed
by CCC leadership, CCC members earned respect from fellow members and maintained or
advanced their position within the gang.

14. At all times relevant to this Third Superseding Indictment, the following
individuals, among others, were members and assoicates of CCC:

ZENO BURNETTE (BURNETTE),
DESMOND BUTLER (BUTLER),
a/k/a “Dez,”

DARRELL CARTER (CARTER),
a/k/a “Black Ice,”
CORREY CAWTHORN (CAWTHORN),
a/k/a “Fat Correy,”
MICHAEL CHESTER (CHESTER),
a/k/a “Mikkie,”

DARIEN COLEMAN (COLEMAN),
a/k/a “DCole,”

WAYNE GILLIAM (GILLIAM),
a/k/a “Trey,”

RICHARD GRIER (GRIER),
a/k/a “Rich Homie,”
JAWAUN HARRIS (HARRIS),
a/k/a “Scoota,”

DAYON JETER (JETER),

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a/k/a “Savage,”
a/k/a “Day On Geter,”
RAEKWON MCMANN (MCMANN),
a/k/a “Ray Ray,”
DEVIN MITCHELL (MITCHELL),
a/k/a “Dev,”
RASHAUD NESMITH (NESMITH),
a/k/a “Shaud,” and
TYESHAWN RIVERS (RIVERS),
a/k/a “Shawn”
The Racketeering Enterprise
15. At all times relevant to this Third Superseding Indictment, CCC, including its
leadership, members, and associates, constituted an “enterprise” as defined in Section 1961(4) of
Title 18, United States Code, that is, a group of individuals associated in fact that engaged in, and
the activities of which affected, interstate and foreign commerce. The enterprise constituted an
ongoing organization whose members and associates functioned as a continuing unit for the
common purpose of achieving the objectives of the enterprise.
Purposes of the Enterprise
16. | Among the purposes of the enterprise were the following:

a. Enriching the leaders, members and associates of the enterprise through the
distribution of controlled substances and other criminal activities, and through the use of threats,
intimidation, and violence, including but not limited to, acts involving murder and retaliation
against witnesses;

b. Promoting and enhancing the enterprise and its members’ and associates’
activities within the community and on social media;

C. Preserving and protecting the power, territory, operations, and proceeds of

the enterprise through the distribution of controlled substances, and use of threats, intimidation,

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and violence, including acts involving murder, robbery, and assault;

d. Preserving and protecting the enterprise and its leaders by keeping its
members and associates from cooperating with law enforcement through intimidation, violence,
and threats of violence;

e. Providing financial support and information to members, including those
who were incarcerated for narcotics trafficking, acts of violence, or other offenses;

f. Providing assistance to other gang members who committed crimes for and
on behalf of the gang in order to hinder, obstruct, and prevent law enforcement officers from
identifying, apprehending, and punishing the offender; and

g. Keeping victims and witnesses in fear of the enterprise and in fear of its
leaders, members, and associates through acts of violence and threats of violence.

The Racketeering Conspiracy

17. Beginning on a date unknown to the Grand Jury, but at least prior to 2015, and
continuing until on or about the date of this Third Superseding Indictment, in the District of
Maryland, the defendants, ZENO BURNETTE, DESMOND BUTLER, a/k/a “Dez,”
DARRELL CARTER, a/k/a “Black Ice,” CORREY CAWTHORN, a/k/a “Fat Correy,”
MICHAEL CHESTER, a/k/a “Mikkie,” DARIEN COLEMAN, a/k/a “DCole,” WAYNE
GILLIAM, a/k/a “Trey,” RICHARD GRIER, a/k/a “Rich Homie,” JAWAUN HARRIS,
a/k/a “Scoota,” DAYON JETER, a/k/a “Savage,” a/k/a “Day On Geter,” RAEKWON
MCMANN, a/k/a “Ray Ray,” DEVIN MITCHELL, a/k/a “Dev,” RASHAUD NESMITH,

a/k/a “Shaud,” and TYESHAWN RIVERS, a/k/a “Shawn,” each being a person employed by

and associated with CCC, an enterprise, which engaged in, and the activities of which affected,

 
 

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interstate and foreign commerce, together with each other and with other persons known and
unknown to the Grand Jury, did knowingly, intentionally, and unlawfully combine, conspire,
confederate, and agree to violate Section 1962(c) of Title 18, United States Code, that is, to conduct
and participate, directly and indirectly, in the conduct of the enterprise’s affairs through a pattern
of racketeering activity, as defined in Sections 1961(1) and (5) of Title 18, United States Code,
which pattern of racketeering activity consisted of:
a. Multiple acts involving:
i. robbery, in violation of Md. Code Ann., Crim. Law § 3-402 , § 3-
403, and § 3-405; punishable pursuant to Md. Code Ann. Crim. Law §§ 1-201 and 1-202;
ii. murder, in violation of Md. Code Ann., Crim. Law §§ 2-201 and 2-
204 and §§ 2-205 and 2-206; punishable pursuant to Md. Code Ann., Crim. Law §§ 1-201 and1-
202; and
b. Multiple offenses involving dealing in controlled substances, in violation
of:
i. 21 U.S.C. § 846 (Conspiracy to Distribute and Possess with Intent
to Distribute a Controlled Substance); and
il. 21 U.S.C. § 841 (Distribution and Possession with Intent to
Distribute a Controlled Substance).
It was a part of the conspiracy that each defendant agreed that a conspirator would commit

at least two acts of racketeering activity in the conduct of the affairs of the enterprise.

Methods and Means of the Racketeering Conspiracy
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18. | Among the methods and means by which the CCC members and the associates
conducted and participated in the conduct of the affairs of the enterprise were the following:

a. CCC members and associates employed and used gang-related terminology,
symbols, and clothing. They frequently identified with the letter “C,” which is the first letter of
each word in the gang’s name, “Cruddy Conniving Crutballs”; with a handshake that included a
“locking c”; and with clothing emblazoned with “CCC” or variations of the name, including a shirt
that warned others not to be a “rat.” Members could “earn their C” by committing various acts of
violence;

b. CCC members and associates used social media chats and text messages
to discuss, among other things, past criminal acts; the location and activities of other CCC

members; rival gangs and drug traffickers; the arrest or incarceration of CCC members; the

identities of individuals suspected of cooperating with law enforcement and the proposed actions
to be taken against them; plans and agreements regarding the commission of future crimes,
including murder; the distribution of controlled substances; and the illegal possession of fireams,
as well as ways to conceal these crimes from law enforcement;

c. Incarcerated CCC members and associates used jail telephones to
disseminate information about arrests and releases of members and associates; to warn of
investigations; to publicize the identities of persons believed to be cooperating with law
enforcement; to order assaults and murders of enemies of the enterprise; and to request money
from CCC members and associates who were not incarcerated. Because they knew that jail

telephone calls were recorded, CCC members and associates often made calls using other inmates’

account numbers to conceal their identities;

 
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d. CCC members and associates agreed to purchase, maintain, and circulate
weapons and firearms for use in criminal activity by CCC members. They frequently obtained
and loaned firearms from neighborhood associates;

e. CCC members and associates used, carried, possessed, brandished, and
discharged firearms in connection with the enterprise’s illegal activities, including, but not limited
to murder, attempted murder, robbery and assault;

f. CCC members and associates used violence, threats of violence, and
intimidation to prevent victims and witnesses from cooperating with law enforcement against
members of CCC about criminal acts committed by CCC;

g. CCC members and associates obstructed justice and harmed, threatened,
and intimidated witnesses and victims who cooperated with law enforcement, including other
members of CCC and their associates;

h. CCC members and associates distributed and conspired to distribute
controlled substances, including, but not limited to heroin, cocaine, cocaine base, fentanyl, and
marijuana in and around Baltimore City, and elsewhere;

i. CCC members and associates controlled drug territories and generally
permitted only CCC members to sell drugs in these territories;

j. CCC members and associates earned money for the enterprise and financed
their activities, including through the distribution of controlled substances and robbery;

k. CCC members and associates used cellular telephones to communicate with

one another concerning and during the commission of the enterprise’s illegal activities;

 

 
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I. CCC members and associates attempted to conceal the purposes of the acts
done in furtherance of the enterprise, and used coded language and other means to avoid detection
and apprehension by law enforcement and otherwise to provide security to members and associates
of the enterprise; and

m. CCC members and associates agree that acts of violence, including acts of
murder, would be committed to protect and further the interests of CCC.

Overt Acts
19. In furtherance of the conspiracy and to achieve the objective thereof, the defendants
and others performed and caused to be performed the following overt acts, among others, in the
District of Maryland and elsewhere:
L 2014

a. On or about 2014, Gary Creek established CCC after the Black Guerilla

Family declared that members could join other gangs.
HT, 2015

a. On or about July 1, 2015, Gary Creek received approximately 400 pills of
heroin to distribute through CCC members.

b. On or about October 27, 2015, CARTER murdered Quinton Heard.

TIT. 2016
a. By on or about April 1, 2016, Gary Creek had established three lieutenents,

CAWTHORN, CARTER and JOHNSON, to assist running CCC.

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b. On or about June 1, 2016, CAWTHORN and CARTER attempted to murder
A.F. in the 3200 block of Tivoly Avenue as directed by Gary Creek. At the time of the shooting,
there was a $10,000 contract out for A.F.’s life.

Cc. On or about November 19, 2016, CARTER and Gary Creek murdered
Jamere Ricks in the 1700 block of E. 25" Street.

IV. 2017

a. On or about March 7, 2017, Devante Monroe, a/k/a “Finley” posted a
picture of GRIER and other CCC members on his Instagram account claiming, “we don’t do
attempts your bitch a** just go lucky.”

b. On or about June 13, 2017, CAWTHORN and other members of CCC
murdered Antonio Griffin and Tereze Pinkney and attempted to murder C.S. and A.M. in the 1200
block of Bonaparte Avenue during a drive-by shooting. A CCC associate later cleaned out the car.

Cc. On or about August 8, 2017, a CCC member possessed a Taurus P247 G2,
45 caliber handgun bearing serial ¥NGU58389 during a dice game in the 1600 block of Cliftview
Avenue.

d. On or about August 11, 2017, CAWTHORN murdered Thomas Johnson,
a/k/a “Bunchy” in the 4100 block of Chesterfield Avenue.

e. On or about August 19, 2017, CAWTHORN, BUTLER, CHESTER and
GRIER were involved in a shoot-out in the 1700 block of Durham Street against rival gang
members of LTMN, during which CCC member Devonte Monroe, a/k/a “Finley” was shot and

killed by a firearm law enforcement recovered from CAWTHORN on September 4, 2017.
 

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f. On or about August 20, 2017, a CCC member shot and killed Allen Rice,
a/k/a “Freaky.”

g. On or about August 28, 2017, CAWTHORN, CHESTER, GRIER and
another CCC member murdered Carlos Jones in the 100 block of S. Highland Avenue.

h. On or about August 30, 2017, BUTLER, CAWTHORN, CHESTER and
other CCC members exchanged text messages about “Snoop,” a rival gang member, during which
CAWTHORN sent the group a picture of himself holding his hand like a firearm with the caption,
“T ran down on an**** you know me I told him hold these” and BUTLER and CAWTHORN sent
the group a screenshot of threats posted by “Snoop” and others threatening retaliation on CCC
members. BUTLER also stated, “they only trying to beef on Instagram...Snoop getting shot.”

i. On or about September 4, 2017, CAWTHORN possessed a Springfield XD-
9, 9mm handgun bearing serial #GM714614, which is a ballstic match to the firearm used to
murder Carlos Jones seven days prior.

j. On or about September 9, 2017, Gary Creek and another CCC member
exchanged text messages and a photograph of three firearms and the cost of one of the firearms.

k. On or about November 26, 2017, in the 1600 block of Cliftview Avenue,
CCC members shot A.H. who had a successful drug shop in CCC territory.

l. On or about December 13, 2017, GRIER, CARTER and another CCC
member attempted to murder A.J. in the 1600 block of Cliftview Avenue.

m. On or about December 16, 2017, CCC members posted the video “Sliding”

on YouTube which featured several CCC members including Gary Creek and JOHNSON and the

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lyrics, “It’s triple C’s, my n***** Cruddy Conniving” and “I’m a product of my environment,
Cruddy Conniving, shit can get violent.”

n. On or about December 29, 2017, BUTLER, CAWTHORN, CHESTER and
other CCC members exchanged text messages about various CCC members. The text continues
over days and outlines plans for CAWTHORN and another CCC member to shoot a rival, even
posting a mocked-up picture from the movie “Boys in the Hood” with CAWTHORN and the
member in a vehicle shooting at the victim running away. The members agree that they will “drop
acon him.”

V. 2018

a. On or about January 4, 2018, a CCC member sent a photograph of two
females displaying the CCC hand sign to BUTLER, CAWTHORN, CHESTER and other CCC
members with the caption included “if u wanna join CCC go catch ah body.”

b. On or about March 19, 2018, BUTLER, CAWTHORN, CHESTER,
COLEMAN, JETER, RIVERS, GILLIAM and other CCC members began the “PopDat Gang”
text string and discussed CCC criminal activity.

Cc. On or about March 26, 2018, CAWTHORN sent a group text to CCC
members stating, “like my mans boosie said loyalty over love I will kill a n**** on purpose” and
“i been told n**** from the jump when i first came home in 2016 if n**** going hang with me
we going be in some shit.”

d. On March 30, 2018, JETER sent a photo of a rival gang member to

BUTLER and CAWTHORN and said that the rival “disrespected Da C” and that day

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CAWTHORN, JETER, GILLIAM, and other CCC members discussed whether JETER already
had his “C” and whether JETER could obtain a “super C” by killing a rival.

e. On March 31, 2018, a CCC associate sent a picture of a CCC enterprise
shirt that read, “never rat on your friends and always keep your mouth shut” to CAWTHORN,
BUTLER, CHESTER, COLEMAN, GILLIAM, and other CCC members as a reminder of the
purpose of CCC.

f. On or about April 4, 2018, CAWTHORN, CHESTER, RIVERS and other
CCC members had a shoot out with a rival group in the 2900 block of Mayfield Avenue, which is
known rival gang LTMN territory.

g. On or about April 8, 2018, CAWTHORN sent a text message to BUTLER,
CHESTER, COLEMAN, JETER, RIVERS, GILLIAM, and other CCC members with a
photograph of a black Chevy truck warning the group that the “feds” were watching the group and
to “move smart.” CHESTER responded, “keep sending us to the state wen we 2 federal.”

h. On or about April 10, 2018, CAWTHORN, JETER and other CCC
members attempted to rob a dice game in the 1400 block of North Montford Avenue. Later,
CHESTER texted RIVERS and other CCC members that a group “just banged at us.” RIVERS
texted, “did you bang back?” and CAWTHORN texted, “that’s like asking did we run.”

i. On or about April 16, 2018, BUTLER and another CCC member robbed
J.A. and took his 2018 Mercedes Benz c300 in the 2600 block of Reisterstown Road.
CAWTHORN later requested that BUTLER send a picture of J.A.’s Maryland State identification,

which he later sent to CAWTHORN and other CCC members.

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j. On or about April 17, 2018, GRIER distributed two vials of crack cocaine
and possessed with the intent to distribute one vial of crack cocaine in the 2300 block of Harford
Road. Another CCC member was present with GRIER and possessed less than ten grams of
marijuana on his person.

k. On or about April 19, 2018, CHESTER texted CAWTHORN, JETER,
RIVERS and other CCC members that he was at a dice game. CAWTHORN asked “they got a
gun out there?” CHESTER responded, “no.”

L. On or about April 20, 2018, CAWTHORN, RIVERS and another member
of CCC exchanged text messages about robbing a person who posted a picture of themselves on
social media holding a large amount of cash. CAWTHORN responded that he saw the same post
and had the same idea.

m. On or about April 21, 2018, BUTLER, CAWTHORN, CHESTER,
COLEMAN, and RIVERS murdered Diamante Howard during a dice game in the 6100 block of
Fortview Way.

n. On or about April 22, 2018, members of CCC attempted to murder M.G.
and R.V. CAWTHORN later texted the Baltimore Police Department notice of this shooting to
CHESTER.

oO. On or about April 27, 2018, RIVERS and another member of CCC
attempted to murder S.J. in the 2200 block of Harford Road and CAWTHORN, CHESTER and
other CCC members were present during the shooting.

p. On or about May 1, 2018, CHESTER possessed a 9mm Glock 17, serial #

KNK206 which is a ballistics match to the April 4, 2018 shoot-out on rival gang LTMN territory.

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q- On or about May 1, 2018, a CCC member distributed six vials of crack to
an undercover police officer in the 1600 block of Normal Avenue.

r. On or about May 2, 2018, a CCC member distributed four vials of crack to
an undercover police officer in the 1600 block of Normal Avenue.

S. On or about May 3, 2018, a member of CCC distributed eight vials of crack
to an undercover police officer in the 1600 block of Normal Avenue.

t. On or about May 9, 2018, an associate of CCC distributed two vials and a
bag of crack to an undercover police officer in the 1600 block of Normal Avenue.

u. On or about May 11, 2018, an associate of CCC distributed four vials of
crack to an undercover police officer in the 1600 block of Normal Avenue.

Vv. On or about May 15, 2018, an associate of CCC distributed four vials of
crack to an undercover police officer in the 1600 block of Normal Avenue.

Ww. On or about May 16, 2018, an associate of CCC distributed eight vials of
crack to an undercover officer in the 1600 block of Normal Avenue.

X. On or about May 17, 2018, an associate of CCC distributed eight jugs of
crack to an undercover officer in the 1600 block of Normal Avenue.

y. On or about May 21, 2018, an associate of CCC distributed eight jugs of
crack to an undercover officer in the 1600 block of Normal Avenue.

Z. On or about June 9, 2018, CAWTHORN murdered Dwayne Cheeks during
a dice game in the 2200 block of Germania Avenue.

aa. As seen on video, a CCC member previously possessed a backpack that, on

or about June 11, 2018, Baltimore City police officers seized from the porch of a stash house used

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by CCC members to store drugs and weapons, and which backpack contained a Taurus PT 111
Millenium G2 9mm handgun bearing serial number TI063564 and containing eleven 9mm Luger
rounds of ammunition; an extended magazine loaded with twenty-five rounds of assorted .45
caliber ammunition; a scale; and multiple bags containing suspected marijuana.

bb. On or about June 12, 2018, an associate of CCC sold nine blue containers
containing crack to an undercover officer in the 1600 block of Normal Avenue.

ce. On or about June 15, 2018 CAWTHORN and Gary Creek exchanged text
messages about trading guns, including photographs of the firearms.

dd. On or about June 21, 2018, an associate of CCC sold one clear plastic bag
and four plastic containers of crack to an undercover officer in the 1600 block of Normal Avenue.

ee. On or about June 26, 2018, an associate of CCC sold two plastic bags of
crack to an undercover officer in the 1600 block of Normal Avenue.

ff. On or about July 2, 2018, an associate of CCC sold 6.5 grams of crack to an
undercover officer in the 1600 block of Normal Avenue.

gg. On or about July 11, 2018, an associate of CCC sold two jugs of crack to
K.W. in the 1700 block of Normal Avenue.

bh. On or about July 11, 2018, RIVERS texted CAWTHORN, “30 on the floor
in my car on the driver side under the mat.”

i. On or about July 12, 2018, an associate of CCC sold two eight-balls of crack
to an undercover officer in the 1600 block of Normal Avenue.

jj. On or about July 15, 2018, members of CCC murdered Joshua Bessick on

Eagle Street.

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kk. On or about July 19, 2018, CAWTHORN sent a text message to another
CCC member stating, “yo we really beefin’ with he whole world yo” and a picture of himself
covered in firearms.

I. On or about July 22, 2018, members of CCC murdered Rashard Queen in
the 900 block of 37" Street.

mm. On or about July 23, 2018, associates and members of CCC sold twenty-
one green plastic zip lock bags and seventeen green plastic containers of cocaine to an undercover
officer in the 1600 block of Normal Avenue.

nn. On or about July 24, 2018, CAWTHORN sent a text message to RIVERS
and another CCC member, “I knew I can handle the heat I knew what came with the streets, I knew
about the beef I knew if I got caught with the gun the type of shit would happen to me.”

00. On or about July 29, 2018, CAWTHORN, MCMANN, and RIVERS
murdered Darius Mason in the 6100 block of Harford Road.

pp. On or about August 3, 2018, CAWTHORN and another CCC member
possessed seven glass vials of crack on 1600 Normal and Cliftview Avenues.

qq. On or about August 6, 2018, a member of CCC possessed a Glock 23, .40
caliber handgun with serial number UPP507 in East Baltimore.

rr. On or about August 11, 2018, CAWTHORN discharged a firearm and
struck K.T. in the 3000 block of Lavender Avenue, in Baltimore County, Maryland and other CCC

members were present.

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Ss. On or about August 14, 2018, CCC members and/or associates attempted to
murder J.S. on Orchard Ridge Road, which members of CCC referred to as “the Colorfuls” or
“Colorful Houses” because of the colorful houses on the block.

tt. On or about August 16, 2018, BUTLER, CAWTHORN, COLEMAN and
JETER exchanged text messages about firearm possession. CAWTHORN texted BUTLER that
COLEMAN “rey bring you the ratchet” and CAWTHORN texted JETER that he would bring him
“this HiPoint for you.” JETER replied “I’I take a Dillinger 2,” to which CAWTHORN texted
back, “bitch if I give you a gun you not going to tote it.” JETER responded by text, “every gun I
had I toted.”

uu. On or about August 18, 2018, CAWTHORN and GRIER attempted to kill
rivals who shot CAWTHORN’s father in the 2300 block of Harford Road.

Ww. On or about August 18, 2018, GRIER murdered Vuai Green in the block of
2300 Harford Road.

ww. Onor about August 20, 2018, a CCC member possessed a loaded magazine
and twelve blue zip lock bags containing crack in the 1600 block of Normal Avenue.

xx.  Onor about August 21, 2018, GRIER possessed with the intent to distribute
crack in 1933 W. Mosher Street.

yy. On or about August 23, 2018, CCC members attempted to murder D.D.
during a dice game in the 1500 block of Madison Avenue.

ZZ. On or about August 25, 2018, CCC members attempted to murder A.L. and

C.G. at the intersection of St. Patrick Street and Dale Avenue in Baltimore County.

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aaa. On or about September 9, 2018, HARRIS sent a message in an Instagram
chat saying, “A lot of L shit going on freedaL ripshian ccc shit.”

bbb. On or about September 16, 2018, a CCC member possessed a Glock 27, .40
caliber S&W semi-automatic pistol with an obliterated serial number in the 1700 block of
Cliftview Avenue.

ccc. Onor about September 27, 2018, a CCC member possessed with the intent
to distribute nine vials of crack in the 1600 block of Normal Avenue.

ddd. Onor about September 29, 2018, after the arrest of several CCC members,
another CCC member posted on social media “I jump out at ya house I don’t shoot from the corner”
with “CCC” posted after the comment along with “#FreedaGang” and a photograph of the member
simulating a tigger pulling motion.

eee. On or about October 10, 2018, MCMANN and HARRIS carjacked K.W.
of his Maroon Volvo Station Wagon in the 4400 block of Cherry Blossom Place.

fff. On or about October 10, 2018, CCC members attempted to murder D.G. in
the 3400 Block of Milford Avenue.

ggg. Onor about October 11, 2018, CCC members attempted to murder rivals in
the 2600 block of Garrison Avenue.

hhh. On or about October 18, 2018, a CCC member distributed twelve vials of
crack to an undercover police officer in the 1400 block of Darley Avenue.

ili. On or about October 22, 2018, a CCC member distributed eight vials of

crack to an undercover police officer in the 1700 block of Cliftview Avenue.

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Jil. On or about October 29, 2018, a CCC member distributed five vials of crack
to an undercover police officer in the 2200 block of Harford Road.

kkk. On November 6, 2018, GILLIAM discussed with other CCC members in
an Instagram chat that he gave JOHNSON a firearm because JOHNSON did not have one and
GILLIAM had a .32 caliber handgun.

lil. On or about November 23, 2018, CCC members murdered Howard Gibson,
a/k/a “Chico” at 3808 Echodale Avenue.

mmm. On or about December 4, 2018, JOHNSON, Keishonne Moore, and other
CCC members possessed a Glock 19 Gen 4 9mm luger with serial number BADS728 and 157
trashcans of crack in the 2000 block of Wolfe Street.

nnn. On December 15, 2018, BUTLER, BURNETTE, and MITCHELL
discussed purchasing firearms through Instagram messages.

000. Onor about December 18, 2018, MCMANN and HARRIS carjacked H.Y.
of his gray Honda Accord in the 3500 block of Chesterfield Avenue. The vehicle is recovered the
following day on December 19, 2018.

ppp. On or about December 31, 2018, BURNETTE, BUTLER, CHESTER,
COLEMAN, GILLIAM, JETER and MITCHELL murdered Corey Moseley in the 4900 block of
Green Rose Lane.

VI. 2019
a. On or about January 8, 2019, RIVERS possessed a firearm in the 1600 block

of Cliftview Avenue.

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b. On or about January 3, 2019, “JackBoy Ike and Money” posted a video on
YouTube in which several CCC members, including Gary Creek, CAWTHORN, JOHNSON,
GRIER, CARTER, JETER and others were featured singing and dancing along to the lyrics, “I
ain’t no Crip or no Blood, I’m Triple C baby.”

C. On or about January 6, 2019, BURNETTE sent an Instagram message to
BUTLER, JETER, CAWTHORN, COLEMAN, NESMITH, MITCHELL, and HARRIS asking
“shid can y’all jack the pound man.” BUTLER responded, “Pound man going be on murder ink.”
NESMITH and BURNETTE agreed, responding “he catching one” and “he gotta go,” respectively.
BURNETTE then added “no trace . . . no case.”

d. On or about January 8, 2019, RIVERS possessed a firearm in the 1600 block
of Cliftview Avenue.

e. On or about January 8, 2019, MITCHELL sent an Instagram message to
BUTLER, JETER, CAWTHORN, COLEMAN, NESMITH, BURNETTE, and HARRIS stating
“brovahman x recgang x CCC x scl lor dev.”

f. On or abour January 11, 2019, BUTLER sent a message in the same
Instragram chat stating that the group was the reason individuals from “the Gates” neighborhood
needed security. JETER then sent a photo of a specific individual to the group, and HARRIS
responded “we going murdddaaaahhhh him.”

g. On or about January 18, 2019, MITCHELL sent a message in the same
Instagram chat explaining that he had been “hitting plays” without a firearm, had someone put a

gun to his head, and he would never walk around by himself without a firearm again.

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h. On or about February 18, 2019, an associate of CCC possessed a Glock 23,
40 caliber handgun bearing serial number SRYM127 which was used to murder Corey Moseley
on December 31, 2018.

i. On or about February 21, 2019, NESMITH sent an Instagram message to
BUTLER, JETER, CAWTHORN, COLEMAN, BURNETTE, MITCHELL, and HARRIS stating
when he does a robbery with other individuals, he “still gah split it down da middle.” In response,
BUTLER said “robbing don’t get you nowehere.” MITCHELL responded “if you not jacking a
up n**** no point.” BURNETTE also responded that robbing was weak, but a “house lick” was
the “best.”

j. On or about February 22, 2019, in the same Instagram chat, MITCHELL
sent the message “we all the f****** same . . . Triple ¢ come out of yall.” BUTLER responded,
“triple c just in me.”

k. On or about February 24, 2019, BURNETTE, BUTLER, MCMANN,
MITCHELL, and NESMITH attempted to murder and rob Q.W. in the 5200 block of Cedonia
Avenue. Over text messages, the group later criticized that there should have been a “kill,” but at
least they “still hit something.”

L. On March 2, 2019, BURNETTE, MITCHELL, NESMITH and JETER
attempted to murder Bel Air Road rivals in the 3300 block of Brendan Avenue.

m. On or about April 1, 2019, CAWTHORN became a fugitive from justice
when he was released from Baltimore County Detention Center instead of being transferred to

federal custody.

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n. On or about April 7, 2019, BURNETTE messaged CCC members that he
was “lost” on how a non-CCC member was “hitting” the CCC handshake, “that’s what I’m lost on
. .. how he even know bout that . . . ain’t to many n***** With da L this circle locked . . . yeah to
many hitting the handshake.”

oO. On or about April 11, 2019, MITCHELL and BURNETTE discussed in an
Instagram chat with other CCC members the non-fatal shooting of an Enterprise associate and
murder of two other individuals. BURNETTE questioned “where the f*** was the guns,” and
explained that had CCC members been there, the individuals who shot the victims would “would
have been running away . . . once they see shots coming back.” MITCHELL criticized the victims
for not having firearms, and agreed hat had CCC members including BUTLER and NESMITH
been there, they would have shot first, “if we was on that corner shit prolly wouldn’t even have
went that way cause we strapped and Ik for a fact my n***** gon whip them bitches straight out.”

p. On or about April 14, 2019, BURNETTE, CAWTHORN, GILLIAM,
MCMANN and NESMITH attempted to murder LTMN rivals D.C, E.S., and A.J, in the 3500
block of Pelham Avenue.

q. On or about April 16, 2019, BUTLER told MITCHELL to share his location
with him. MITCHELL responded that he already was. When JETER asked BUTLER where he
was, BUTLER responded “what’s the point of sharing it if you going ask me where I’m at.”
BURNETTE replied “n***** don’t check.”

r. On or about April 17, 2019, COLEMAN possessed a Bersa Thunder 9 Ultra

Compact Pro, 9mm handgun in the 4400 block of Saint Clair Court.

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S. On or about April 22, 2019, CAWTHORN and MCMANN murdered Larry
Matthews in the 1600 block of Cliftview Avenue.

t. On or about June 2, 2019, CAWTHORN mocked law enforcement’s efforts
to arrest him on the federal detainer by posting a video to his Instagram account in which he said,
“Feds want me so bad but they don’t have a clue. They lost....aint no bitch on this eath going to
make me put this .40 down.”

u. On or about July 4, 2019, BUTLER and JETER carjacked W.J. of his 2003
black Honda Accord in the 3500 block of Shannon Avenue. CCC members used the carjacked
vehicle during an attempted murder later that day.

Vv. On or about July 4, 2019, BUTLER, JETER and NESMITH attempted to
murder A.C. and D.R. in the 5500 block of Bowley’s Lane, which is known territory of the rival
gang LTMN.

w. On or about July 19, 2019, BUTLER and JETER possessed a Polymer80,
40 caliber S7W, model number PF940C in Ocean City, Maryland.

Xx. On or about August 19, 2019, Gary Creek possessed oxycotin,
dextroamphetamine and Alprazolam in the 400 block of N. Curley Street.

y- On or about August 24, 2019, CCC members shot and killed CCC member
Avery Rich during a retaliatory shooting of a rival gang member.

Zz. On or about October 19, 2019, CCC members attempted to murder A.T.
during a dice game in the 1900 block of Hollins Street.

VII. 2020

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a. On or about March 17, 2020, RIVERS attempted to murder T.B., A.V., LF.,
J.F., A.O., D.P., G.M., T.C., T.F., in the 300 block of McMechen Street.

b. On or about June 11, 2020, Gary Creek posted a picture of himself on his
Instagram account wearing a “CCC” hat.

Cc. On or about August 4, 2020, a CCC member possessed a FNH .40 caliber
handgun, serial number GKU0019014, and possessed forty-three gelcaps of cocaine, two pills of
oxycodone, and marijuana, in the 1500 block of Cliftview Avenue.

d. On or about August 5, 2020, RIVERS and others murdered Donya Short
and attempted to murder D.W. in the 1700 block of McCulloh Street.

e. On or about October 10, 2020, CCC members murdered Brimar Livingston
and attempted to murder C.J. in the 5900 block of Moravia Road.

f. On or about October 30, 2020, RIVERS possessed a Glock 30, .45 caliber
handgun bearing serial number LDE360 and loaded with ten rounds of .45 caliber ammunition and
an extended Glock magazine with twenty rounds of .45 caliber ammunition in the 1900 block of
E. Baltimore Avenue and the firearm is a ballistic match to casings found at the August 5, 2020
murder of Donya Short.

g. On or about October 30, 2020, BUTLER possessed a Polymer80, .40 S&W
handgun bearing serial number PF940C and loaded with sixteen rounds of ammunition in the 4200
block of Moravia Road.

h. On or about October 31, 2020, MCMANN possessed a Glock 43, 9mm
firearm with serial number BMDN239 which is a ballistic match to casings found at the October

27, 2020 murder of Harold Barnett, Jr.

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i. On or about November 5, 2020, CARTER possessed a Sarsilmaz (SAR
ARMS), SAR B6P, 9mm handgun bearing serial number T1102-12G01117 and loaded with eleven
rounds of ammunition in the 2300 Harford Road.

j. On November 12, 2020, GILLIAM sent an Instagram message to an
unknown individual, “I got AR for 1,000.”

Special Sentencing Factors Regarding Count One

1. On or about October 27, 2015, in the District of Maryland, DARRELL CARTER
unlawfully conspired with others known and unknown to the Grand Jury to feloniously, willfully,
and with deliberately premeditated malice, kill and murder Quinton Heard, in violation of
Maryland Code, Criminal Law § 2-201(a)(1) and the Common Law of Maryland, and punishable
pursuant to Maryland Code, Criminal Law § 1-202.

2. On or about November 19, 2016, in the District of Maryland, DARRELL
CARTER unlawfully conspired with others known and unknown to the Grand Jury to feloniously,
willfully, and with deliberately premeditated malice, kill and murder Jamere Ricks, in violation of
Maryland Code, Criminal Law § 2-201(a)(1) and the Common Law of Maryland, and punishable
pursuant to Maryland Code, Criminal Law § 1-202.

3. On or about June 13, 2017, in the District of Maryland, CORREY CAWTHORN
unlawfully conspired with others known and unknown to the Grand Jury to feloniously, willfully,
and with deliberately premeditated malice, kill and murder rival gang members, in violation of
Maryland Code, Criminal Law § 2-201(a)(1) and the Common Law of Maryland, and punishable

pursuant to Maryland Code, Criminal Law § 1-202.

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4, On or about August 11, 2017, in the District of Maryland, CORREY
CAWTHORN did feloniously, willfully, and with deliberately premeditated malice, kill and
murder Thomas Johnson, in violation of Maryland Code, Criminal Law § 2-201(a)(1) and the
Common Law of Maryland, and punishable pursuant to Maryland Code, Criminal Law § 1-202.

5. On or about August 28, 2017, in the District of Maryland, CORREY
CAWTHORN, RICHARD GRIER, and MICHAEL CHESTER unlawfully conspired with
others known and unknown to the Grand Jury to feloniously, willfully, and with deliberately
premeditated malice, kill and murder Carlos Jones, in violation of Maryland Code, Criminal Law
§ 2-201(a)(1) and the Common Law of Maryland, and punishable pursuant to Maryland Code,
Criminal Law § 1-202.

6. On or about April 21, 2018, in the District of Maryland, DESMOND BUTLER,
CORRY CAWTHORN, MICHAEL CHESTER, DARIEN COLEMAN, and TYESHAWN
RIVERS perpetrated a robbery in violation of Maryland Code, Criminal Law § 3-403, and during
the perpetration of that robbery, Diamante Howard was murdered, in violation of Maryland Code,
Criminal Law § 2-201(a)(4)(ix) and punishable pursuant to Maryland Code, Criminal Law § I-
202.

7. On or about July 29, 2018, in the District of Maryland, CORREY CAWTHORN,
RAEKWON MCMANN, and TYESHAWN RIVERS unlawfully conspired with others known
and unknown to the Grand Jury to feloniously, willfully, and with deliberately premeditated
malice, kill and murder Darius Mason, in violation of Maryland Code, Criminal Law § 2-201(a)(1)
and the Common Law of Maryland, and punishable pursuant to Maryland Code, Criminal Law

§ 1-202.

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8. On or about August 18, 2018, in the District of Maryland, RICHARD GRIER
did feloniously, willfully, and with deliberately premeditated malice, kill and murder Vuai Green,
in violation of Maryland Code, Criminal Law § 2-201(a)(1) and the Common Law of Maryland,
and punishable pursuant to Maryland Code, Criminal Law § 1-202.

9. On or about December 31, 2018, in the District of Maryland, ZENO BURNETTE,
DESMOND BUTLER, MICHAEL CHESTER, DARIEN COLEMAN, WAYNE GILLIAM,
DAYON JETER and DEVIN MITCHELL unlawfully conspired with others known and
unknown to the Grand Jury to feloniously, willfully, and with deliberately premeditated malice,
kill and murder Correy Moseley, in violation of Maryland Code, Criminal Law § 2-201(a)(1) and
the Common Law of Maryland, and punishable pursuant to Maryland Code, Criminal Law § 1-
202.

10. On or about April 22, 2019, in the District of Maryland, CORREY CAWTHORN
and RAEK WON MCMANN unlawfully conspired with others known and unknown to the Grand
Jury to feloniously, willfully, and with deliberately premeditated malice, kill and murder Larry
Matthews, in violation of Maryland Code, Criminal Law § 2-201(a)(1) and the Common Law of
Maryland, and punishable pursuant to Maryland Code, Criminal Law § 1-202.

11. From at least in or about 2018 through the date of this Third Superseding
Indictment, in the District of Maryland and elsewhere, the defendants herein,

ZENO BURNETTE,
DESMOND BUTLER,
a/k/a “Dez,”
DARRELL CARTER,
a/k/a “Black Ice,”
CORREY CAWTHORN,

a/k/a “Fat Correy,”
MICHAEL CHESTER,

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a/k/a “Mikkie,”
DARIEN COLEMAN,
a/k/a “DCole,”
RICHARD GRIER,
a/k/a “Rich Homie,”
JAWAUN HARRIS,
a/k/a “Scooda,”
DAYON JETER,
a/k/a “Savage,”
a/k/a “Day On Geter,”
RAEKWON MCMANN,
a/k/a “Ray Ray,”
DEVIN MITCHELL,
a/k/a “Dev,”
RASHAUD NESMITH,
a/k/a “Shaud,” and
TYESHAWN RIVERS,
a/k/a “Shawn”

did knowingly and willfully combine, conspire, confederate, and agree with each other and with
others known and unknown to the Grand Jury to knowingly and intentionally distribute and possess
with intent to distribute 280 grams or more of a mixture or substance containing a detectable
amount of cocaine base, a Schedule II controlled substance, in violation of Title 21, United States
Code, Sections 841(a)(1), (b)(1)(A) and 846.

All in violation of 18 U.S.C. § 1962(d)
18 U.S.C. § 1963

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COUNT TWO
(Conspiracy to Distribute and Possess with the Intent to Distribute Controlled Substances)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs 1-19 of Count One of this Third Superseding Indictment are re-alleged

and incorporated by reference as though fully set forth herein.

2. From at least 2015 through the date of this Third Superseding Indictment, in the

District of Maryland and elsewhere, the defendants,

ZENO BURNETTE,
DESMOND BUTLER,
a/k/a “Dez,”
DARELL CARTER,
a/k/a “Black Ice,”
CORREY CAWTHORN,
a/k/a “Fat Correy,”
MICHAEL CHESTER,
a/k/a “Mikkie,”
DARIEN COLEMAN,
a/k/a “DCole,”
WAYNE GILLIAM,
a/k/a “Trey,”
RICHARD GRIER,
a/k/a “Rich Homie,”
JAWAUN HARRIS,
a/k/a/ “Scooda,”
DAYON JETER,
a/k/a “Savage,”
a/k/a “Day On Geter,”
DESEAN JOHNSON,
a/k/a “Boosie,”
RAEKWON MCMANN,
a/k/a “Ray Ray,”
DEVIN MITCHELL,
a/k/a “Dev,”
RASHAUD NESMITH,
a/k/a “Shaud,” and
TYESHAWN RIVERS,
a/k/a “Shawn,”

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did knowingly combine, conspire, confederate, and agree with persons known and unknown to the
Grand Jury to distribute and possess with the intent to distribute more than 280 grams of a mixture
and substance containing a detectable amount of cocaine base, commonly called crack cocaine, a
Schedule II controlled substance, and a mixture and substance containing a detectable amount of
fentanyl, a Schedule II controlled substance, a mixure or substance containing a detectable amount
of heroin, a Schedule I controlled substances, and a mixture or substance containing a detectable
amount of marijuana, a Schedule I controlled substance, in violation of 21 U.S.C. § 841(a)(1),
(b)(L)(A), (BCC).

21 U.S.C. § 846
 

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COUNT THREE
(Conspiracy to Possess a Firearm in Furtherance of Drug Trafficking)

The Grand Jury for the District of Maryland further charges that:

From a time unknown to the Grand Jury, but no later than in or about January 2015, and

continuing through on or about the filing of this Third Superseding Indictment, in the District of

Maryland, the defendants,

ZENO BURNETTE,
DESMOND BUTLER,
a/k/a “Dez,”
DARELL CARTER,
a/k/a “Black Ice,”
CORREY CAWTHORN,
a/k/a “Fat Correy,”
MICHAEL CHESTER,
a/k/a “Mikkie,”
DARIEN COLEMAN,
a/k/a “DCole,”
WAYNE GILLIAM,
a/k/a “Trey,”
RICHARD GRIER,
a/k/a “Rich Homie,”
JAWAUN HARRIS,
a/k/a “Scooda,”
DAYON JETER,
a/k/a “Savage,”
a/k/a “Day On Geter,”
DESEAN JOHNSON,
a/k/a “Boosie,”
RAEKWON MCMANN,
a/k/a “Ray Ray,”
DEVIN MITCHELL,
a/k/a “Dev,”
RASHAUD NESMITH,
a/k/a “Shaud,” and
TYESHAWN RIVERS,
a/k/a “Shawn,”
did conspire to possess firearms in furtherance of a drug trafficking crime for which they may be

prosecuted in a court of the United States, that is, conspiracy to possess with the intent to distribute

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cocaine base, commonly called crack cocaine, and marijuana, as charged in Count Two of this
Third Superseding Indictment, and possession with the intent to distribute crack cocaine as charged
in Counts Four and Six of this Third Superseding Indictment, which are incorporated by reference

herein.

18 U.S.C. § 924(0)\

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COUNT FOUR
(Possess with Intent to Distribute)

The Grand Jury for the District of Maryland further charges that:
On or about August 3, 2018, in the District of Maryland, the defendant,

CORREY CAWTHORN,
a/k/a “Fat Correy,”

did knowingly and intentionally possess with intent to distribute a quantity of a mixture and
substance containing a detectable amount of amount cocaine base, commonly called crack cocaine,
a Schedule II Controlled Substance.

21 U.S.C. § 841(a)(1)

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COUNT FIVE

(Possession of a Firearm in Furtherance of Drug Trafficking)
The Grand Jury for the District of Maryland further charges that:
On or about December 4, 2018, in the District of Maryland, the defendant,

DESEAN JOHNSON
a/k/a “Boosie,”

did knowingly possess a firearm, that is, a Glock 19 9mm handgun with serial number BADS728,
in furtherance of a drug trafficking crime for which they may be prosecuted in a court of the United
States, that is, possession with the intent to distribute crack cocaine, as charged in Count Fourteen

of this Third Superseding Indictment, which is incorporated by reference herein.

18 U.S.C. § 924(c)(1)(A)

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COUNT SIX
(Possess with Intent to Distribute)

The Grand Jury for the District of Maryland further charges that:
On or about December 4, 2018, in the District of Maryland, the defendant,
DESEAN JOHNSON
a/k/a “Boosie,”
did knowingly and intentionally possess with intent to distribute a quantity of a mixture and
substance containing a detectable amount of amount cocaine base, commonly called crack cocaine,

a Schedule II Controlled Substance.

21 U.S.C. § 841(a)(1)

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FORFEITURE
The Grand Jury for the District of Maryland further finds that:
1, Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendants that the
United States will seek forfeiture as part of any sentence in accordance with 28 U.S.C. § 2461(c)
and the other statutes cited herein, in the event of the defendants’ convictions.
RICO Forfeiture
2. Pursuant to Section 1963 of Title 18, United States Code, upon conviction of an
offense in violation of Section 1962 of Title 18, United States Code, set forth in Count One of this
Third Superseding Indictment, the defendants,

CORREY CAWTHORN (CAWTHORN),
a/k/a “Fat Correy,”

ZENO BURNETTE (BURNETTE),
DESMOND BUTLER (BUTLER),
a/k/a “Dez,”

DARELL CARTER (CARTER),
a/k/a “Black Ice,”
MICHAEL CHESTER (CHESTER),
a/k/a “Mikkie,”

DARIEN COLEMAN (COLEMAN),
a/k/a “DCole,”

WAYNE GILLIAM (GILLIAM),
a/k/a “Trey,”

RICHARD GRIER (GRIER),
a/k/a “Rich Homie,”
JAWAUN HARRIS (HARRIS),
a/k/a “Scooda,”

DAYON JETER (JETER),
a/k/a “Savage,”

a/k/a “Day On Geter,”
DESEAN JOHNSON,

a/k/a “Boosie,”
RAEKWON MCMANN (MCMANN),
a/k/a “Ray Ray,”

DEVIN MITCHELL,

a/k/a “Dev,”

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RASHAUD NESMITH (NESMITH),
a/k/a “Shaud,” and
TYESHAWN RIVERS (RIVERS),
a/k/a “Shawn,”
shall forfeit to the United States of America:

a. any interest acquired or maintained in violation of section 1962;

b. any interest in, security of, claim against, or property or contractual right of
any kind affording a source of influence over, any enterprise which the defendants established,
operated, controlled, conducted, or participated in the conduct of, in violation of section 1962; and

c. any property constituting, or derived from, any proceeds obtained, directly
or indirectly, from racketeering activity in violation of 1962.

3. The interests of the defendant subject to forfeiture to the United States pursuant to
Section 1963(a)(1), (a)(2), and (a)(3) of Title 18, United States Code, include, but are not limited
to a sum of money representing the amount of the gross proceeds received by the defendants
derived from racketeering activity as alleged in this Third Superseding Indictment.

Narcotics Forfeiture

4, Pursuant to Section 853 of Title 21, United States Code, upon the conviction of an
offense in violation of Sections 841 or 846 of Title 21, United States Code, set forth in Counts
Two, Four, Five, Six, Seven, Nine and Eleven of this Third Superseding Indictment, the
defendants,

CORREY CAWTHORN,
a/k/a “Fat Correy,”
ZENO BURNETTE,
DESMOND BUTLER,
a/k/a “Dez,”
DARELL CARTER,
a/k/a “Black Ice,”

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MICHAEL CHESTER,
a/k/a “Mikkie,”
DARIEN COLEMAN,
a/k/a “DCole,”
WAYNE GILLIAM,
a/k/a “Trey,”
RICHARD GRIER,
a/k/a “Rich Homie,”
JAWAUN HARRIS,
a/k/a “Scoota,”
DAYON JETER (JETER),
a/k/a “Savage,”
a/k/a “Day On Geter,”
DESEAN JOHNSON,
a/k/a “Boosie,”
RAEKWON MCMANN,
a/k/a “Ray Ray,”
DEVIN MITCHELL,
a/k/a “Dev,”
RASHAUD NESMITH,
a/k/a “Shaud,” and
TYESHAWN RIVERS,
a/k/a “Shawn,”

shall forfeit to the United States of America:

a. any property constituting, or derived from, any proceeds obtained directly
or indirectly as the result of the offense; and

b. any property used or intended to be used, in any manner or part, to
commit, or to facilitate the commission of, such offense.

5. Such property shall include, but not be limited to, a sum of money equal to the

proceeds obtained, directly or indirectly, as the result of the violations of Section 846 of Title 21,
United States Code, as charged in Count Two of this Third Superseding Indictment, and all interest

and proceeds traceable thereto, representing the amount of proceeds obtained as a result of the

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conspiracy to violate the Controlled Substances Act, for which the defendants are jointly and

severally liable.
Firearms and Ammunition Forfeiture
6. Upon conviction of the offenses in violation of Sections 922(g) and 924(c) of Title

18, United States Code, set forth in Counts Three, Eight and Ten of this Third Superseding

Indictment, the defendants,

CORREY CAWTHORN,
a/k/a “Fat Correy,”
ZENO BURNETTE,
DESMOND BUTLER,
a/k/a “Dez,”
DARELL CARTER,
a/k/a “Black Ice,”
MICHAEL CHESTER,
a/k/a “Mikkie,”
DARIEN COLEMAN,
a/k/a “DCole,”
WAYNE GILLIAM,
a/k/a “Trey,”
RICHARD GRIER,
a/k/a “Rich Homie,”
JAWAUN HARRIS,
a/k/a “Scooda,”
DAYON JETER,
a/k/a “Savage,”
a/k/a “Day On Geter,”
DESEAN JOHNSON,
a/k/a “Boosie,”
RAEKWON MCMANN,
a/k/a “Ray Ray,”
DEVIN MITCHELL,
a/k/a “Dev,”
RASHAUD NESMITH,
a/k/a “Shaud,” and
TYESHAWN RIVERS,
a/k/a “Shawn,”
shall forfeit to the United States pursuant to Section 924(d) of Title 18, United States Code, and

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Section 2461(c) of Title 28, United States Code, any firearms and ammunition involved in the

commission of the offenses.

Substitute Assets
7. If any of the property described above, as a result of any act or omission of the

defendants:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

C. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property that cannot be divided without
difficulty;

the United States shall be entitled to forfeiture of substitute property pursuant to Sections 853(p)

of Title 21, United States Code, and Section 1963(m) of Title 18, United States Code, as

incorporated by Section 2461(c) of Title 28, United States Code.

Property Subject to Forfeiture

8. The property to be forfeited includes, but is not limited to, the following:

a.

one Taurus International model PT 111 Milennium G2, 9mm handgun
bearing serial number T1063564;

11 rounds of 9mm caliber ammunition;

25 rounds of .45 caliber ammunition;

25 rounds of .40 caliber Smith & Wesson ammunition;
2 rounds of 223 LC ammunition;

24 rounds of 9mm ammunition;

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aa.

GLD model 17 9mm handgun bearing serial number KNK206;

Springfield Armory, Model XD-9 subcompact bearing serial number
GM714614;

15 rounds 9mm ammunition;

Glock GMBH model 19, gen 4, 9mm handgun bearing serial number
BADS728;

17 rounds 9mm ammunition;

GLD Glock 22 40 caliber handgun bearing serial number PSX995;
11 rounds .40 caliber ammunition;

29 rounds Winchester 9mm ammunition;

13 rounds of .40 caliber ammunition;

Taurus P247 G2, .45 caliber handgun bearing serial #NGU58389;
Glock 23, .40 caliber handgun with serial number UPP507;

Glock 27, .40 caliber S& W semi-automatic pistol with an obliterated serial
number;

Polymer80, 40 caliber S7W, model number PF940C;

FNH .40 caliber handgun, serial number GKU0019014;

Glock 30, .45 caliber handgun bearing serial number LDE360;
30 rounds of .45 caliber ammunition;

Sarsilmaz (SAR ARMS), SAR B6P, 9mm handgun bearing serial number
T1102-12G01117;

22 rounds of 9mm ammunition;
a Glock 43, 9mm firearm with serial number BMDN239;
Polymer80, .40 S&W handgun bearing serial number PF940C;

Glock 23 slide bearing serial number LWG454 with a tan .40 caliber
Polymer80 handle;

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bb. 10 rounds of .40 caliber ammunition;
ce. Polymer 80, .40 caliber firearm bearing no serial number; and

dd. 16 rounds of GLF .40 caliber S& W ammunition.

 

21 U.S.C. § 853
18 U.S.C. § 1963
28 U.S.C. § 2461(c)
18 U.S.C. § 924(d)

 

Coreg A Benn! Dee

Erek L. Barron,
United States Attorney

A TRUE BILL:

   

Dated: VASOF/S 001

Foreperson

AA

 
